Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 1 of 35 PageID: 10259




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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY




   IN RE THALOMID AND REVLIMID        Civil Action No. 2:14-cv-6997-MCA-MAH
   ANTITRUST LITIGATION
                                       Honorable Madeline Cox Arleo, U.S.D.J.

                                           (Document Filed Electronically)




         CELGENE CORPORATION’S MEMORANDUM IN OPPOSITION TO
       CLASS PLAINTIFFS’ RENEWED MOTION FOR CLASS CERTIFICATION




   Gavin J. Rooney                       John E. Schmidtlein (pro hac vice)
   Joseph A. Fischetti                   Benjamin M. Greenblum (pro hac vice)
   LOWENSTEIN SANDLER LLP                Carol Joan Pruski (pro hac vice)
   One Lowenstein Drive                  WILLIAMS & CONNOLLY LLP
   Roseland, NJ 07068                    725 Twelfth Street NW
   Tel: (973) 597-2500                   Washington, DC 20005
                                         Tel: (202) 434-5000
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 2 of 35 PageID: 10260




                                                     TABLE OF CONTENTS

  INTRODUCTION ...........................................................................................................................1

  ARGUMENT ...................................................................................................................................2

  I.        PLAINTIFFS’ PROPOSED THIRD PARTY PAYOR ONLY DAMAGES
            CLASSES ARE NOT CERTIFIABLE BECAUSE INDIVIDUAL ISSUES
            PREDOMINATE. ................................................................................................................3

            A.         Plaintiffs’ Damages Model Fails To Exclude Payments by PBMs. ........................4

                       1.         The Court Previously Agreed that Excluding PBMs from the
                                  Classes Would Undermine Plaintiffs’ Damages Model if PBMs
                                  Bore a Part of the Cost. ................................................................................4

                       2.         Newly Provided Evidence Confirms that
                                               . ...........................................................................................6

                       3.         Plaintiffs’ Failure To Remove PBMs from Their Damages Model
                                  Precludes Certification. ................................................................................7

            B.         Plaintiffs Cannot Identify Uninjured TPPs Whose Customers Are Brand
                       Loyalists. ..................................................................................................................9

  II.       PLAINTIFFS FAIL TO MEET RULE 23(b)(3)’S PREDOMINANCE
            REQUIREMENT. ..............................................................................................................10

            A.         Plaintiffs Cannot Establish Injury-in-Fact on a Class-Wide Basis Without
                       Identifying Brand Loyalists with Common Proof. ................................................11

            B.         Plaintiffs Have Compounded Their Predominance Problems by Including
                       Flat Copay Consumers in the Putative Classes. .....................................................14

            C.         Plaintiffs’ New Arbitrary Start Date Does Not Solve the Predominance
                       Problem. .................................................................................................................16

            D.         Identifying Uninjured Class Members Cannot Wait Until After Trial. .................17

            E.         “Lack of Consumer Choice” Is Insufficient To Demonstrate the Class-
                       Wide Antitrust Injury Required for a Rule 23(b)(3) Damages Class. ...................19

            F.         Plaintiffs Cannot Satisfy the High Standard Required for a Motion To
                       Reconsider..............................................................................................................21

  III.      PLAINTIFFS’ PROPOSED INJUNCTION CLASS IS NOT CERTIFIABLE. ...............22

            A.         Plaintiffs’ Failure to Specifically Define the Injunctive Relief Sought
                       Precludes Certification. ..........................................................................................23


                                                                          i
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 3 of 35 PageID: 10261




            B.         Plaintiffs Cannot Demonstrate that the Class Is Cohesive.....................................26

            C.         Plaintiffs’ Injunctive Relief Class Is Not Necessary to Obtaining the Relief
                       They Seek...............................................................................................................28

  CONCLUSION ..............................................................................................................................30




                                                                       ii
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 4 of 35 PageID: 10262




                                                   TABLE OF AUTHORITIES

  Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985) ....................................20

  Barnes v. Am. Tobacco Co., 161 F.3d 127 (3d Cir. 1998).............................................................28

  City Select Auto Sales, Inc. v. BMW Bank of N. Am., Inc., 867 F.3d 434
      (3d Cir. 2017) ...........................................................................................................................18

  Comcast Corp. v. Behrend, 569 U.S. 27 (2013) ......................................................................7, 8, 9

  Deborah Heart and Lung Center v. Penn Presbyterian Medical Center,
     2011 WL 6935276 (D.N.J. Dec. 30, 2011) ..............................................................................20

  Ebert v. Gen. Mills, Inc., 823 F.3d 472 (8th Cir. 2016) .................................................................17

  F.T.C. v. Ind. Fed’n of Dentists, 476 U.S. 447 (1986)...................................................................20

  Fosmire v. Progressive Max Ins. Co., 277 F.R.D. 625 (W.D. Wash. 2011) .................................27

  Franco v. Conn. Gen. Life Ins. Co., 299 F.R.D. 417 (D.N.J. 2014),
     aff’d, 647 F. App’x 76 (3d Cir. 2016) ........................................................................................9

  Gaines v. Busnardo, 2015 WL 5771233 (D.N.J. Sept. 30, 2015) .................................................21

  Gates v. Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011) .............................................................27

  Gayle v. Warden Monmouth Cty. Corr. Inst., 838 F.3d 297 (3d Cir. 2016) ..................................28

  Gonzalez v. Corning, 885 F.3d 186 (3d Cir. 2018) .......................................................................28

  Hall v. Burger King Corp., 1992 WL 372354 (S.D. Fla. Oct. 26, 1992) ......................................29

  Harnish v. Widener Univ. Sch. of Law, 833 F.3d 298 (3d Cir. 2016)......................................11, 15

  In re Asacol Antitrust Litig., 907 F.3d 42 (1st Cir. 2018) ...................................................... passim

  In re Pharmacy Benefit Managers Antitrust Litig., 2017 WL 275398
      (E.D. Pa. Jan. 18, 2017) ...........................................................................................................27

  In re Processed Egg Prods. Antitrust Litig., 312 F.R.D. 124 (E.D. Pa. 2015) ...................... passim

  In re Processed Egg Prods. Antitrust Litig., 312 F.R.D. 171 (E.D. Pa. 2015) ................................7

  In re Rail Freight Fuel Surcharge Antitrust Litig., 292 F. Supp. 3d 14
      (D.D.C. 2017) ..........................................................................................................................16

  In re Skelaxin (Metaxalone) Antitrust Litig., 299 F.R.D. 555 (E.D. Tenn. 2014) .........5, 23, 28, 29



                                                                        iii
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 5 of 35 PageID: 10263




  In re Vitamin C Antitrust Litig., 279 F.R.D. 90 (E.D.N.Y. 2012) .................................................29

  In re Whirlpool Corp. Front-Loading Washer Prod. Liab. Litig., 302 F.R.D. 448
      (N.D. Ohio 2014) .....................................................................................................................17

  Kotsur v. Goodman Glob., Inc., 2016 WL 4430609 (E.D. Pa. 2016) ............................................27

  Laumann v. National Hockey League, 105 F. Supp. 3d 384 (S.D.N.Y. 2015) ........................20, 21

  Max’s Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d 669
    (3d Cir. 1999) ...........................................................................................................................21

  Mylan Pharm. v. Celgene Corp., No. 14-2094, Dkt. 287 (D.N.J. Oct. 3, 2018) ...........................25

  Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla., 468 U.S. 85
     (1984) .......................................................................................................................................20

  Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154
     (3d Cir. 2001) ...........................................................................................................................15

  Shook v. Bd. of Cty. Comm’rs of Cty. of El Paso, 543 F.3d 597 (10th Cir. 2008).........................23

  Taha v. Cty of Bucks, 862 F.3d 292 (3d Cir. 2017) .......................................................................11

  Tunis Bros. Co. v. Ford Motor Co., 952 F.2d 715 (3d Cir. 1991) .................................................20

  Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036 (2016) .....................................................21, 22

  United States v. Brown Univ., 5 F.3d 658 (3d Cir. 1993) ..............................................................20

  United States v. Dentsply Int’l, Inc., 399 F.3d 181 (3d Cir. 2005) ................................................20

  Vista Healthplan, Inc. v. Cephalon, Inc., 2015 WL 3623005
      (E.D. Pa. June 10, 2015) ....................................................................................................12, 15

  Wachtel ex rel. Jesse v. Guardian Life Ins. Co. of Am., 453 F.3d 179
    (3d Cir. 2006) ...........................................................................................................................24

  Wenig v. Messerli & Kramer P.A., 2013 WL 1176062 (D. Minn. Mar. 21, 2013) .................16, 17

                                                      OTHER AUTHORITIES

  Local Rule 7.1(i) ............................................................................................................................21

  Rule 23 ................................................................................................................................... passim

  Rule 65(d) ......................................................................................................................................23




                                                                          iv
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 6 of 35 PageID: 10264
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 7 of 35 PageID: 10265




  brand. Plaintiffs offer only rampant speculation as to when this arbitrary generic penetration

  goal would have occurred, and the resulting claim-splitting would defeat many of the purported

  benefits of class treatment. Plaintiffs also suggest including in these classes the admittedly

  uninjured and unidentifiable flat copay consumers to dodge the ascertainability concern. This

  suggestion compounds Plaintiffs’ brand loyalty issue by adding another group of uninjured

  consumers to the putative classes, and highlights Plaintiffs’ inability to establish class-wide

  antitrust injury. Alternatively, Plaintiffs submit—without any new case law or analysis, and

  despite this Court’s unambiguous ruling to the contrary—that identification of class members

  can wait until trial. For all the reasons the Court already explained, it cannot. Finally, Plaintiffs

  proffer a novel theory that brand loyalists—who by definition would not have chosen a generic—

  are nevertheless injured by a reduction in consumer choice sufficient to certify a Rule 23(b)(3)

  damages class. No court has ever sanctioned such a claim, which flouts fundamental concepts of

  antitrust injury.

          Plaintiffs’ efforts to certify an injunction class are similarly unavailing, as they have

  offered the Court no guidance on what specific relief they seek and cannot show that such a class

  would be cohesive.

                                                  ARGUMENT

          Plaintiffs still fail to meet multiple critical requirements for certifying a class under

  Rule 23. Specifically, Plaintiffs’ renewed motion should be denied because (a) they have failed

  to satisfy Rule 23(b)(3)’s predominance requirement with respect to the various damages classes

  now proposed, and (b) they have not met requirements for certifying an injunctive relief class

  pursuant to Rule 23(b)(2).




                                                     2
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 8 of 35 PageID: 10266




  I.     PLAINTIFFS’ PROPOSED THIRD PARTY PAYOR ONLY DAMAGES
         CLASSES ARE NOT CERTIFIABLE BECAUSE INDIVIDUAL ISSUES
         PREDOMINATE.

         In denying Plaintiffs’ motion to certify their proposed damages classes, the Court gave

  Plaintiffs a second chance to cure the dispositive problems. Plaintiffs’ response was not to

  address the issues raised by the Court. Rather, Plaintiffs argue that, at the very least, certification

  of classes comprised only of TPPs is appropriate. Plaintiffs are mistaken. For two separate

  reasons, TPP-only classes cannot be certified on the undisputed record developed in this case.

         The first stems from Plaintiffs’ last-minute exclusion of PBMs from their putative

  classes. During the prior class certification briefing, Plaintiffs belatedly argued that it was

  feasible to exclude PBMs because they did not actually pay for any part of the retail pharmacy

  purchase price of Thalomid or Revlimid. Therefore, Plaintiffs argued, because PBMs

  purportedly did not actually pay for the drugs, Plaintiffs did not have to account for any

  reimbursements involving PBMs; they simply could focus on prices paid only by TPPs and

  consumers. Testimony and analyses provided by Plaintiffs’ experts after briefing on Plaintiffs’

  first certification motion was complete confirms that



             Notwithstanding this now undisputed fact, Plaintiffs’ TPP-only damages model fails

  to exclude those instances where PBMs paid for at least part of the cost of Thalomid and

  Revlimid. TPP-only classes that purportedly exclude PBMs therefore cannot be certified

  because Plaintiffs’ damages expert has not articulated any class-wide methodology for

  estimating and excluding PBM damages from the case.

         The second problem with Plaintiffs’ proposed TPP-only classes relates to the same brand

  loyalty issue that the Court found dispositive with respect to consumers: If a TPP insures only a

  handful of consumers taking Thalomid or Revlimid, and those consumers are uninjured because


                                                    3
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 9 of 35 PageID: 10267




  they would not have taken generic versions of the medications, the TPP also is uninjured.

  Because Plaintiffs still do not have a common method for identifying brand loyalists, let alone

  the TPPs that insure them, Plaintiffs cannot carry their burden of proving class-wide injury.

           A.     Plaintiffs’ Damages Model Fails To Exclude Payments by PBMs.

           Uncontroverted record evidence, provided after briefing on Plaintiffs’ prior motion was

  complete, shows that

  Plaintiffs’ exclusion of PBMs in their proposed TPP classes therefore “create[s] issues . . . with

  the classwide damages model” that preclude certification. Opinion, Dkt. 250 (hereinafter “Op.”)

  at 49.

                  1.     The Court Previously Agreed that Excluding PBMs from the Classes
                         Would Undermine Plaintiffs’ Damages Model if PBMs Bore a Part of
                         the Cost.

           It is undisputed that Thalomid and Revlimid claims purportedly “paid” by a TPP are in

  fact usually paid to the pharmacy by the PBM, which then seeks reimbursement from the TPP

  for some or all of the purchase price. If the PBM pays more to the pharmacy than it receives in

  reimbursement from the TPP, it unquestionably bears a portion of the cost from an economic

  perspective. Dkt. 182 at 22; see also id.,



                                                           Celgene’s original opposition to class

  certification argued that Plaintiffs could not satisfy their ascertainability burden because they

  offered no methodology for identifying which PBMs paid some of the price (and were therefore

  in the class) and which did not. Dkt. 182 at 22-26.

           In their reply, Plaintiffs submitted a declaration from Mr. W. Paul DeBree, who

  concluded—without any analysis of the Thalomid and Revlimid payments at issue in this case—




                                                    4
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 10 of 35 PageID: 10268




   that PBMs generally do not pay for prescriptions. Dkt. 210-4 ¶ 6.1 Plaintiffs also offered to

   exclude PBMs from the class entirely—a tactic that Celgene preemptively explained may cure

   the ascertainability problems but would create equally dispositive predominance concerns.

          The Court accepted Mr. DeBree’s representation and allowed Plaintiffs to exclude PBMs,

   but acknowledged that if PBMs in fact paid for the drugs, Celgene’s predominance concerns

   would be valid. See Op. at 49 (“[E]xcluding PBMs . . . would create issues with plaintiffs’

   impact and damages model because the model would incorporate damages suffered by TPPs who

   are ostensibly excluded from the class and . . . such a model could be problematic because it

   would not measure those damages attributable only to End Payors’ theory” (quoting In re

   Skelaxin (Metaxalone) Antitrust Litig., 299 F.R.D. 555, 575 (E.D. Tenn. 2014) (internal

   quotation marks and citations omitted)). The Court concluded: “Thus, if the Court finds that

   PBMs potentially bear part or all of the cost of Thalomid and Revlimid, it would create

   issues . . . if PBMs are excluded, with [Plaintiffs’] classwide damages model.” Op. at 49

   (emphasis added).2




   1
     Plaintiffs offered Mr. DeBree’s declaration in their original class certification reply brief, rather
   than in their opening motion. Celgene sought to depose him on that declaration and to offer a
   rebuttal to it, but the Court denied leave for surrebuttal, so no deposition was taken. See
   Dkts. 212, 219. Plaintiffs have now again moved for class certification but did not cite to or
   include Mr. DeBree’s declaration. And Plaintiffs initially refused to make Mr. DeBree available
   for deposition, arguing that they were not relying upon his declaration in the present motion.
   When Celgene offered to withdraw its request for deposition if Plaintiffs would agree that they
   would not cite to, or otherwise rely on, Mr. DeBree in their reply brief on this renewed motion,
   Plaintiffs agreed to produce him for deposition.
   2
    The Court also confirmed that, if PBMs do bear price risk, including them would create
   ascertainability problems. Op. at 49-50. Those problems—highlighted by Celgene in its first
   opposition—are not repeated here because Plaintiffs have now attempted to exclude PBMs.



                                                      5
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 11 of 35 PageID: 10269
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 12 of 35 PageID: 10270




          Dr. Leitzinger’s case-specific example also undermines Mr. DeBree’s generalized

   assertion that                                       As Mr. DeBree acknowledged in deposition,




                    3.   Plaintiffs’ Failure To Remove PBMs from Their Damages Model
                         Precludes Certification.

          At the class certification stage, Plaintiffs “must show that a reliable method is available to

   prove damages on a class-wide basis.” Op. at 30 (quoting In re Processed Egg Prods. Antitrust

   Litig., 312 F.R.D. 171, 202 (E.D. Pa. 2015)); see also Comcast Corp. v. Behrend, 569 U.S. 27,

   35 (2013) (“a model purporting to serve as evidence of damages in [a] class action must measure

   only those damages attributable to” theory “accepted for class-action treatment”). Despite Dr.

   Leitzinger’s and Mr. DeBree’s recent admissions, Plaintiffs have done nothing to cure the



                                                    7
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 13 of 35 PageID: 10271




   predominance concerns that the Court warned would be present if Plaintiffs excluded PBMs (as

   they now do). See Op. at 49. Plaintiffs have not removed such payments from their damages

   model, nor could they without individualized analysis.

          Dr. Leitzinger asserted in his merits report (served after the close of briefing on the prior

   motion for class certification) that

                                                                                          But this

   assertion is based only

                                                            Plaintiffs have done no additional analysis

   and conducted no additional discovery to determine



                                                                   .5 Ex. 4 (Leitzinger 11/30/18

   Dep.) at 44:3-44:10, 49:15-50:23; Ex. 3 (DeBree Dep.) at 124:24-125:7. What is more, Dr.

   Leitzinger’s estimate did not include



                                                                                                     Dr.

   Leitzinger’s assertion

   is therefore unacceptably speculative. See Comcast, 569 U.S. at 35 (confirming that courts must

   review an expert’s methodology to determine if it is “a just and reasonable inference or

   speculative”).

          Whatever the actual amount, the resulting inflation of Plaintiffs’ model represents a


   5
     The reason Plaintiffs did not conduct further analysis of all PBMs on this issue presumably was
   because it was impractical to do so given the highly individualized nature of the inquiry, which
   itself would preclude certification. See Comcast, 569 U.S. at 34 (predominance requirement not
   met where “[q]uestions of individual damage calculations will inevitably overwhelm questions
   common to the class”).



                                                    8
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 14 of 35 PageID: 10272




   fundamental misalignment of Plaintiffs’ theory of liability and their proposed damages. Under

   Comcast and its progeny, this precludes certification. Id. at 37 (recognizing that class-wide

   damages model is invalid if it “identifies damages that are not the result of the wrong”); Franco

   v. Conn. Gen. Life Ins. Co., 299 F.R.D. 417, 430 (D.N.J. 2014) (Chesler, J.) (court must ensure

   that “proffered model measures only those damages attributable to the plaintiff’s theory of

   liability”), aff’d, 647 F. App’x 76 (3d Cir. 2016).

          B.      Plaintiffs Cannot Identify Uninjured TPPs Whose Customers Are Brand
                  Loyalists.

          The Court previously concluded that the presence of brand loyalists who would not have

   switched to a generic defeats predominance for Plaintiffs’ proposed End Payor classes. The

   same problem defeats Plaintiffs’ proposed TPP-only classes.




                                                                                   See infra Part II.A

   (explaining why presence of uninjured brand loyal class members defeats predominance).

          Because Plaintiffs have no class-wide method for determining which TPPs were injured

   and which were not, the brand loyalty issue dooms the TPP classes, just as it dooms the End

   Payor classes. It is no answer that the number of affected TPPs may (theoretically) be fewer than

   the End Payor brand loyalists. In all events, Plaintiffs’ TPP classes will require individualized



                                                     9
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 15 of 35 PageID: 10273




   consumer testimony (including the very same affidavits Plaintiffs admit are necessary to identify

   brand loyalists) to prove injury-in-fact. Therefore, because Plaintiffs have not “provided any

   basis from which [the Court] could conclude that the number of affidavits to which [Celgene]

   will be able to mount a genuine challenge is so small that it will be administratively feasible to

   require those challenged affiants to testify at trial,” certification should be denied. In re Asacol

   Antitrust Litig., 907 F.3d 42, 53 (1st Cir. 2018).6

   II.    PLAINTIFFS FAIL TO MEET RULE 23(b)(3)’S PREDOMINANCE
          REQUIREMENT.

          Alternatively, Plaintiffs again seek certification of broader End Payor classes consisting

   of both consumers and TPPs. In its October 30 opinion, the Court held that such classes could

   not be certified because Plaintiffs had not satisfied Rule 23(b)(3)’s predominance requirement.

   Op. at 29. Specifically, the Court explained that brand loyalists were uninjured and Plaintiffs

   had offered no method for identifying them without resorting to extensive individual inquiries.

   Id. at 23-26. Nonetheless, the Court allowed “Plaintiffs another opportunity to address this issue

   and to propose a method of identifying potential brand loyalists without resorting to

   individualized inquiry.” Id. at 29. Plaintiffs have not cured those deficiencies; indeed, they have

   compounded the problem by adding another group of uninjured class members who cannot be

   identified with common proof—consumers with flat copays—to the putative classes.

          Plaintiffs also suggest artificially moving the putative class start date back only for

   consumers by two-and-a-half years, until they allegedly reach a generic penetration rate of

   97.5 percent. That unprecedented “fix” is grounded on a speculative and flawed theory that is

   undermined by Plaintiffs’ expert’s own analysis of


   6
    Plaintiffs noted that a petition for rehearing en banc was filed in Asacol. Mot. at 15 n.26. The
   First Circuit has since denied that petition. See Asacol, No. 18-1065 (ordered Jan. 23, 2019).



                                                    10
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 16 of 35 PageID: 10274




          And it would remove many of the efficiencies that may be gained by class treatment.

          Because these broader End Payor classes would suffer from the same flaws identified in

   Part I, and because Plaintiffs still have failed to offer any class-wide methodology for proving

   injury-in-fact, the Court should again deny Plaintiffs’ motion on predominance grounds.

          A.      Plaintiffs Cannot Establish Injury-in-Fact on a Class-Wide Basis Without
                  Identifying Brand Loyalists with Common Proof.

          Rule 23(b)(3)’s “predominance” component examines “whether the elements of the

   claims of the class can be proven at trial with ‘common, as opposed to individualized,

   evidence.’” Op. at 20 (quoting Taha v. Cty of Bucks, 862 F.3d 292, 308 (3d Cir. 2017)). “To

   certify a class, ‘the putative class must first demonstrate economic loss—that is, the fact of

   damage—on a common basis.’” Op. at 22 (quoting Harnish v. Widener Univ. Sch. of Law,

   833 F.3d 298, 305-06 (3d Cir. 2016)). In order to meet this requirement, the Court directed

   Plaintiffs to “propose a method of identifying potential brand loyalists without resorting to

   individualized inquiry.” Op. at 29. Plaintiffs’ motion does not even attempt to do so. That

   should end the inquiry: Plaintiffs have failed to address the core issue underlying the Court’s

   denial of class certification and have provided the Court no record to reverse its prior ruling.

          Instead of addressing the Court’s directive, Plaintiffs in effect request reconsideration,

   suggesting for the first time that “distribution logistics” problems, rather than brand loyalty,

   explain why ten percent of the class would not convert to a generic product had it been available.

   Mot. at 13-14. The sole basis for this argument is a wholly speculative and unsound analysis

   now offered by Dr. Leitzinger. Id. As explained below, this analysis does not provide any basis

   for predicting how many brand loyalists will continue taking the branded versions of Thalomid

   and Revlimid when a generic product comes to market.

          First, Dr. Leitzinger acknowledges that



                                                    11
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 17 of 35 PageID: 10275




                                                     In short, although the prevalence of brand

   loyalists has repeatedly led courts to deny class certification,7

                                                                                       These

   concessions are sufficient reason to deny Plaintiffs’ motion.

          Second, the “analysis” that Dr. Leitzinger performed does not undermine the Court’s

   prior finding regarding brand loyalists. Dr. Leitzinger

                                                                                               He

   observed that




                                           This analysis is fundamentally flawed for many reasons.

          For example,




   7
    See, e.g., Asacol, 907 F.3d at 59-60; Vista Healthplan, Inc. v. Cephalon, Inc., 2015 WL
   3623005, at *12 (E.D. Pa. June 10, 2015).



                                                     12
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 18 of 35 PageID: 10276
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 19 of 35 PageID: 10277




   limitations and qualifications, one cannot say that




           Plaintiffs’ theory also defies common-sense.




          B.      Plaintiffs Have Compounded Their Predominance Problems by Including
                  Flat Copay Consumers in the Putative Classes.

          Not only have Plaintiffs failed to cure their brand loyalist problem, Plaintiffs’ renewed

   motion in fact increases the prevalence of individual issues by including flat copay consumers

   whom Plaintiffs previously excluded precisely because they were not injured.

          There is no dispute that flat copay consumers are not injured because they would have

   paid the same amount for their prescriptions regardless of whether it was for a brand or a generic

   medication. See Mot. at 10 (admitting flat copayers “did not suffer damages” and “would not

   have paid less in the but-for world”). Plaintiffs therefore excluded such consumers from their

   original class definitions. See Dkt. 150 at 1 n.1. In opposition, Celgene explained that Plaintiffs

   had failed to satisfy their ascertainability burden because Plaintiffs’ proposed method of

   identifying flat copay consumers required extensive individualized inquiry. Dkt. 182 at 19-21.



                                                   14
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 20 of 35 PageID: 10278




          The Court agreed and denied certification on ascertainability grounds. Op. at 44. But the

   Court gave Plaintiffs another opportunity “to demonstrate that the excluded, flat copay members

   of the class can be identified” with common proof. Op. at 46. Plaintiffs have not done so.

   Instead, their “solution” is to include those consumers in their latest putative classes. To

   whatever extent this technically solves the ascertainability problem, it creates an equally

   dispositive predominance problem.

          Plaintiffs’ revised damages classes now have not one, but two, significant groups of

   undeniably uninjured consumers that Plaintiffs cannot identify without individualized inquiries.

   This defeats predominance under Third Circuit precedent, as well as this Court’s prior ruling.

   See Op. at 24-26; Vista Healthplan, 2015 WL 3623005, at *19 (“[W]hen every class member has

   the potential to be a brand loyalist [or] a person with a flat copay . . . , and the only way to

   identify persons who fall within those groups is individualized inquiry, individualized inquiries

   would predominate.”).9 As the Asacol Court explained: “[T]his is not a case in which a very

   small absolute number of class members might be picked off in a manageable, individualized

   process at or before trial.” 907 F.3d at 53; see also




          This Court concluded as much when Plaintiffs’ classes only included uninjured brand

   loyalists, Op. at 24-26, and Plaintiffs provide no basis for the Court to reconsider this decision,

   see infra Part II.F (describing high standard required for reconsideration motions). Plaintiffs’



   9
    Accord Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 190 (3d Cir.
   2001) (“ascertaining which class members have sustained injury means individual issues
   predominate over common ones”); Harnish, 833 F.3d at 313 (“the inability to resolve [the fact of
   damages] in class-wide fashion will cause individual questions to predominate”).



                                                     15
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 21 of 35 PageID: 10279
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 22 of 35 PageID: 10280




   P. 23(b)(3). If the class period is limited as Plaintiffs suggest, consumers who filled

   prescriptions before Plaintiffs’ new start dates—or, more troublingly, filled prescriptions both

   before and after those dates—would be forced to bring separate lawsuits to obtain full recovery.

   “Plainly, a class action that resolves only a fraction of the possible claims—based on the fortuity

   of the [purchase date]—is neither a ‘fair’ nor ‘efficient’ way to ‘adjudicate the controversy.’”

   Wenig, 2013 WL 1176062, at *6; see also Ebert v. Gen. Mills, Inc., 823 F.3d 472, 481 (8th Cir.

   2016) (reversing grant of certification when definition was “artificially narrowed by the district

   court to achieve class status” because such narrowing “does not advance the efficiencies

   necessary for such [class] treatment”).

          Even assuming, arguendo, there is some magic to 97.5 percent generic penetration,

   Plaintiffs cannot reliably say when it would be reached—and they surely cannot do so in advance

   of trial. As discussed above, Dr. Leitzinger’s analysis provides no reliable basis for estimating

   when (if ever) generic penetration for Thalomid or Revlimid will reach 97.5 percent of all

   prescriptions. See supra Part II.A; see also In re Whirlpool Corp. Front-Loading Washer Prod.

   Liab. Litig., 302 F.R.D. 448, 462-63 (N.D. Ohio 2014) (declining to impose end date “not

   connected to any relevant event” in favor of evidence-based dates). In short, Plaintiffs cannot

   satisfy the Court’s predominance concerns without resort to unacceptably speculative tailoring of

   the class definition, which would eliminate many of the efficiencies of the class.

          D.      Identifying Uninjured Class Members Cannot Wait Until After Trial.

          Alternatively, Plaintiffs suggest—just as they did previously—that they need not identify

   uninjured consumers at the class certification stage. Compare Mot. at 16-22, with Dkt. 210 at 12

   and Dkt. 248. The Court soundly rejected this approach:

                  Plaintiffs argue that identification of individual brand loyalists is a
                  question of damages allocation that is inappropriate for class
                  certification.    Plaintiffs cite to out-of-circuit cases for the


                                                    17
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 23 of 35 PageID: 10281




                  proposition that consumers can, at the damages stage, establish their
                  injury through testimony that, given the choice, he or she would
                  have purchased the generic. None of the cases cited by Plaintiffs
                  applied Third Circuit standards for class certification . . . . [I]n Vista,
                  the court specifically rejected the standards outlined [in those cases],
                  explaining that the Third Circuit imposes greater standards of proof
                  at the time of class certification. . . . This Court . . . is required to
                  apply the greater standards of proof discussed in Vista Healthplan
                  and, consequently, Plaintiffs’ inability to identify a non-
                  individualized means of identifying brand loyalists weighs against
                  certification.

   Op. at 24 (alterations, citations, and internal quotation marks omitted); see also Asacol, 907 F.3d

   at 52. Plaintiffs provide the Court no new law or evidence that could meet the high standard

   required for reconsideration. See infra Part II.F.

          If anything, Plaintiffs’ efforts to relitigate this issue merely underscore the difficulty with

   identifying brand loyalists at the class certification stage (which this Court rightly concluded is

   required in the Third Circuit). Plaintiffs’ first suggestion is that the Court simply wish the

   difficulty away and award damages to all consumers under a “presumption” that everybody

   would purchase a generic if given the choice. Mot. at 18. Plaintiffs’ suggestion is disingenuous

   at best, since there is no dispute that at least some consumers would not purchase a generic—

   Plaintiffs just do not know who. See, e.g.,

                             Mot. at 13 (acknowledging that “true ‘brand loyalists’ may exist”).

          Plaintiffs’ second proposal—that the Court use consumer testimony in the form of an

   affidavit or declaration—is no better. Mot. at 19 (citing City Select Auto Sales, Inc. v. BMW

   Bank of N. Am., Inc., 867 F.3d 434, 442 (3d Cir. 2017)). As Plaintiffs acknowledge, such an

   affidavit cannot be as simple as the inquiry in City Select (i.e., whether a consumer received the

   fax in question). 867 F.3d at 441-42. The proposed affidavit in this case would ask at least four

   questions regarding each consumer’s habits with respect to other drugs, and it may further be




                                                      18
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 24 of 35 PageID: 10282




   necessary for each consumer “to submit evidence that they had taken generic drugs when

   available in the past.” Mot. at 19-20 & n.31. As the Asacol Court explained, because these

   affidavits are not admissible, each consumer would also need to be available to testify at trial so

   that Celgene may properly raise challenges to their injury claims. 907 F.3d at 53. Such a fact-

   specific and burdensome inquiry would unquestionably cause individual issues to predominate.

          E.      “Lack of Consumer Choice” Is Insufficient To Demonstrate the Class-Wide
                  Antitrust Injury Required for a Rule 23(b)(3) Damages Class.

          With no reliable, class-wide method to identify which putative class members suffered

   injury by paying more for Thalomid and Revlimid in the actual world than they would have paid

   in the but-for world, Plaintiffs proffer a different alleged injury never before recognized as a

   basis for certifying a damages class under Rule 23: lack of consumer choice. Mot. at 8-9. The

   Court should reject this erroneous argument.

          As a preliminary matter,



                         Plaintiffs’ novel theory also demonstrates a fundamental misunderstanding

   of antitrust law. Specifically, Plaintiffs conflate the concept of an antitrust violation committed

   by a defendant with antitrust injury suffered by a plaintiff. While a reduction of consumer

   choice has been recognized as an anticompetitive effect of an antitrust violation, it has never

   been accepted as an antitrust injury that would alone justify a class action for damages.

   Plaintiffs’ suggestion to the contrary—i.e., that “[t]he Supreme Court has recognized that

   antitrust injury arises from denial of consumer choice,” Mot. at 8 (emphasis added)—is simply

   incorrect. The cases Plaintiffs cite stand only for the unremarkable proposition that limiting or

   enhancing consumer choice can have anticompetitive or procompetitive effects, which makes the

   conduct more or less likely to constitute an antitrust violation. None of these opinions addressed



                                                    19
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 25 of 35 PageID: 10283




   the requirement of antitrust injury or damage,12 let alone Rule 23(b)(3)’s further requirement that

   such injury be susceptible to class-wide proof in a case involving brand loyal class members.

           The same is true of Plaintiffs’ cited Third Circuit authority. In Deborah Heart and Lung

   Center v. Penn Presbyterian Medical Center, for example, the Court separately evaluated the

   requirements of anticompetitive effects and antitrust injury. 2011 WL 6935276, at *5 (D.N.J.

   Dec. 30, 2011) (Bumb, J.). Tellingly, when discussing the anticompetitive effects of the alleged

   violation, the court noted the “loss of consumer choice.” Id. at *7. But when discussing antitrust

   injury, the court focused only on the plaintiff’s “lost revenues,” not on any reduction in choice.

   Id. at *9.13

           Plaintiffs’ reliance on Laumann v. National Hockey League is similarly misplaced.

   105 F. Supp. 3d 384 (S.D.N.Y. 2015). The Laumann Court’s discussion of consumer choice was

   limited only to the plaintiffs’ request to certify an injunction class under Rule 23(b)(2). Id.

   at 398-99; see also id. at 408 (discussing how “injunctive classes are fundamentally different

   than damages classes”). Indeed, in a companion opinion, the Laumann Court denied certification

   of the corresponding Rule 23(b)(3) damages class because plaintiffs could not “prove, through



   12
      The Supreme Court explicitly noted that it was not addressing the injury requirement in two of
   the cases Plaintiffs cite. See Nat’l Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla.,
   468 U.S. 85, 97 n.14 (1984) (“[P]etitioner [previously] argued that respondents had suffered no
   injury . . . . Petitioner does not seek review on that question in this Court.”); Aspen Skiing Co. v.
   Aspen Highlands Skiing Corp., 472 U.S. 585, 607 (1985) (“The adverse impact of Ski Co.’s
   pattern of conduct on Highlands is not disputed in this Court.”). And the third was brought by a
   government regulator (which need not show antitrust injury). F.T.C. v. Ind. Fed’n of Dentists,
   476 U.S. 447, 447 (1986).
   13
     See also Tunis Bros. Co. v. Ford Motor Co., 952 F.2d 715, 722, 727-28 (3d Cir. 1991)
   (discussing consumer choice as a potential anticompetitive effect under Rule of Reason analysis
   and not addressing injury requirement); United States v. Brown Univ., 5 F.3d 658, 672-75
   (3d Cir. 1993) (discussing consumer choice as a potential anticompetitive effect under Rule of
   Reason analysis); United States v. Dentsply Int’l, Inc., 399 F.3d 181, 194 (3d Cir. 2005) (same).



                                                    20
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 26 of 35 PageID: 10284




   common evidence, that all class members were injured by the alleged conspiracy.” Id. at 398

   (alterations and internal quotation marks omitted). In other words, the Laumann plaintiffs’

   consumer choice theory of antitrust injury provided no basis to certify a damages class.

          F.      Plaintiffs Cannot Satisfy the High Standard Required for a Motion To
                  Reconsider.

          As discussed above, Plaintiffs’ renewed motion does not seriously try to cure the flaws

   the Court identified in denying their prior motion, but rather attacks the Court’s reasoning.

   Mot. at 14-16. Though Plaintiffs do not say so, they are really moving for reconsideration.

          “The standard of review involved in a motion for reconsideration is high and relief is to

   be granted sparingly.” Gaines v. Busnardo, 2015 WL 5771233, at *3 (D.N.J. Sept. 30, 2015)

   (Simandle, J.). Alterations to a prior judgment are warranted only if the party seeking

   reconsideration “shows at least one of the following grounds: (1) an intervening change in the

   controlling law; (2) the availability of new evidence that was not available when the court

   granted the motion for summary judgment; or (3) the need to correct a clear error of law or fact

   or to prevent manifest injustice.” Max’s Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros,

   176 F.3d 669, 677 (3d Cir. 1999). None of those grounds is present here. Plaintiffs identify no

   new law or evidence and no clear errors in the Court’s prior opinion. Plaintiffs’ latest motion

   cites the same case law that they cited previously, which the Court already addressed. Compare

   Mot. at 14-16, 19, 21 (citing Tyson, Neale, Kohen, Castro, City Select, Haliburton, and

   Bogosian), with Dkt. No. 248, at 2-3 (same). Plaintiffs’ request also is untimely, as it was not

   filed within 14 days. See N.J. Local Rule 7.1(i).

          Plaintiffs’ efforts to undercut the Asacol Court’s holding by aligning themselves with the

   Supreme Court’s decision in Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036 (2016), are

   particularly unavailing. Mot. at 15-16. In Tyson Foods, the Supreme Court evaluated



                                                   21
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 27 of 35 PageID: 10285




   certification of a class of workers who did not receive statutorily mandated overtime pay for time

   spent donning and doffing protective gear. Id. at 1042. “Since the employees’ claims relate[d]

   only to overtime, each employee had to show he or she worked more than 40 hours a week,

   inclusive of time spent donning and doffing, in order to recover.” Id. at 1043. Tyson Foods

   failed to keep records of the donning and doffing time. Id. The plaintiffs therefore relied on

   “representative evidence” such as employee testimony, video recordings of donning and doffing

   at the plant, and an expert who identified average time estimates, through which the plaintiffs

   were able to reliably identify the uninjured employees (i.e., those who did not meet the 40-hour

   threshold and thus could not recover). Id. at 1043-44. In other words, the plaintiffs were able to

   demonstrate the fact of injury on a class-wide basis without resorting to individualized inquiries,

   thereby satisfying their predominance burden.

           That is not the case here. Plaintiffs’ statistical evidence does not identify which

   individual putative class members suffered injury-in-fact and which did not, nor can it reliably

   predict how many brand loyalists are in the putative class. As the Court recognized in its prior

   opinion, two untenable options are therefore present: If Plaintiffs use average generic

   penetration rates to show class-wide injury, Celgene is denied “the opportunity to press at trial

   genuine challenges to allegations of injury-in-fact;” on the other hand, if Plaintiffs use consumer

   testimony from every class member on their brand preferences, “individual inquiries regarding

   this issue would overwhelm common issues at trial.” Op. at 26; accord Asacol, 907 F.3d at 58,

   61. Because Plaintiffs have done nothing to solve this dilemma, the same result should follow

   here.

   III.    PLAINTIFFS’ PROPOSED INJUNCTION CLASS IS NOT CERTIFIABLE.

           In its October 30 opinion denying Plaintiffs’ request to certify an injunction class, the

   Court highlighted “the claim preclusive difficulties associated with injunction-only classes.”


                                                    22
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 28 of 35 PageID: 10286




   Op. at 53 (quoting In re Skelaxin, 299 F.R.D. at 555). The Court asked the parties to more fully

   discuss “the legal requirements of Rule 23(b)(2)” to determine whether certification of a

   nationwide injunctive relief class would be appropriate on the facts of this case. Id.

           Plaintiffs have not carried their burden of showing that the injunction class satisfies the

   requirements of Rule 23(b)(2). At the most basic level, the Court cannot certify an injunctive

   relief class because Plaintiffs have not sufficiently articulated what specific injunctive relief they

   seek, whether it would be feasible, and how it could benefit members of the putative class where

   numerous other generic companies have filed ANDAs and either have litigated (and settled for

   entry dates as early as August 2019) or are currently litigating the validity of Celgene’s

   numerous patents relating to Thalomid and Revlimid. The limited references to injunctive relief

   in Plaintiffs’ motion come nowhere close to providing the Court with sufficient information to

   issue a (b)(2) certification order that satisfies Rule 65(d). This defect also undermines Plaintiffs’

   ability to prove that the class is sufficiently cohesive for class-wide injunctive relief because they

   cannot show how any injunction actually would impact any putative class member, much less the

   class as a whole. For all of these reasons, even if the Court were to conclude that the preclusive

   effects could be addressed, the Rule 23(b)(2) class should not be certified.

           A.       Plaintiffs’ Failure to Specifically Define the Injunctive Relief Sought
                    Precludes Certification.

           Federal Rule of Civil Procedure 65(d) provides that “[e]very order granting an injunction

   . . . must: . . . state its terms specifically; and . . . describe in reasonable detail . . . the act or acts

   restrained or required.” At the class certification stage, the requested injunctive relief “must be

   described in reasonably particular detail such that the court can at least conceive of an injunction

   that would satisfy Rule 65(d)’s requirements.” In re Processed Egg Prods. Antitrust Litig.,

   312 F.R.D. 124, 169-70 (E.D. Pa. 2015) (quoting Shook v. Bd. of Cty. Comm’rs of Cty. of El



                                                         23
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 29 of 35 PageID: 10287




   Paso, 543 F.3d 597, 605 (10th Cir. 2008)). “Moreover, Plaintiffs’ sought injunction must be

   more specific than merely requiring that Defendants follow the law.” Processed Egg,

   312 F.R.D. at 170.

          Plaintiffs have not proffered any proposed permanent injunction order in connection with

   their original or renewed motion, nor have they explained exactly what an injunction would

   include or why it would be necessary to redress the anticompetitive effects alleged in this case

   (delayed generic entry). They make passing reference to “restor[ing] the market to the natural

   competitive equilibrium that would exist but for Celgene’s ongoing anticompetitive conduct,”

   Mot. at 26, and assert that “[e]ach class member would benefit from an order requiring Celgene

   to delist its REMS patents from the Orange Book, or requiring it to supply samples within one

   month of request, for example,” id. at 27. But as the Third Circuit has explained, the provision

   of an incomplete list of examples cannot substitute for the required comprehensive description.

   See Wachtel ex rel. Jesse v. Guardian Life Ins. Co. of Am., 453 F.3d 179, 189 (3d Cir. 2006)

   (vacating class certification where “[t]he very use of the phrase ‘inter alia’ (‘among other

   things’) in the [certification order] suggests that it is intentionally incomplete”); Processed Egg,

   312 F.R.D. at 170 (stating that plaintiffs’ use of the phrase “inter alia” is an “acknowledge[ment]

   that they are ‘not specifying the exact nature of the injunctive relief they seek’”). Plaintiffs’

   undefined injunctive relief thus fails the requirements of Rule 23.

          Plaintiffs’ two “examples” serve only to highlight the inappropriateness of a class-wide

   injunction in this case. Plaintiffs’ suggestion that Celgene be ordered to sell samples of its

   products to generic companies “within one month of request,” Mot. at 27, is indefensible for

   several reasons. For starters, Plaintiffs allege no current anticompetitive conduct with respect to

   any of the generic companies that Plaintiffs allege were improperly denied samples. Cf.




                                                     24
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 30 of 35 PageID: 10288




   Processed Egg, 312 F.R.D. at 169 (“[B]efore the Court can determine whether an injunction

   could be based on grounds that have general application to the class, it must know what policies

   of Defendants are ongoing and threaten future injury, and how any injunction could provide

   relief.” (emphasis added)). In other words, Plaintiffs do not identify any generic company to

   whom they would have Celgene be ordered to sell samples today. For all of the generic

   companies referenced in Plaintiffs’ complaint, Celgene has either already provided the requested

   samples, the generic company has abandoned the request, or the issue is being separately

   litigated. See Appendix A (attached herewith). So what exactly would the injunction require

   Celgene to do?

          Any such injunction would, moreover, have no meaningful effect in the marketplace:

   numerous generic companies have already filed ANDAs with the FDA to market generic

   versions of these drugs. Id. And, for each of those, Celgene is either currently engaged in patent

   litigation against the generic company or has already reached settlements that provide for entry

   of these drugs at fixed future dates. Id. Pursuant to those settlements, a generic Thalomid

   product may be available as soon as August 2019, with a generic Revlimid product potentially

   available in 2022. Id.

          Finally, to the extent Celgene receives a new sample request in the future, Plaintiffs’

   arbitrary 30-day timeline would require the Court to conclude that any refusal to sell to a

   competitor is per se unreasonable as there are myriad legitimate reasons why Celgene may not

   proceed with a sale. For example, under such an injunction, Celgene may be forced to sell

   samples to a generic company that had failed to obtain FDA approval—a conclusion that Judge

   Salas recently rejected. See Mylan Pharm. v. Celgene Corp., No. 14-2094, Dkt. 287, at 13-28

   (D.N.J. Oct. 3, 2018) (holding that, as a matter of law, it was objectively reasonable for Celgene




                                                   25
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 31 of 35 PageID: 10289




   to require FDA approval prior to any sale).

           Plaintiffs’ suggestion that the Court should force Celgene to “delist its REMS patents

   from the Orange Book” is equally flawed. Mot. at 27. Every patent litigation Celgene is in with

   a company seeking to make a generic version of Thalomid or Revlimid contains patents-in-suit

   other than the REMS patents. See Appendix A. In other words, even if Celgene delisted its

   REMS patents, generic entry would not be accelerated because patent litigation would still occur

   regarding several other patents. In addition, Plaintiffs nowhere explain why they would be

   entitled to an injunction requiring Celgene to delist all of its REMS patents where (1) its sham

   litigation claims involve only a small subset of those patents, and (2) the validity of those patents

   already is being litigated both in this Court and before the Patent Trial and Appeal Board. In any

   event, Plaintiffs offer no explanation for why these examples of injunctive relief would be

   necessary or appropriate to address any alleged delayed generic entry or feasible given the

   allegations in this case.

           B.      Plaintiffs Cannot Demonstrate that the Class Is Cohesive.

           Plaintiffs’ failure to articulate the specific injunctive relief they seek also dooms

   Plaintiffs’ attempt to show that the class is cohesive. A class action is maintainable under

   Rule 23(b)(2) only when “the party opposing the class has acted or refused to act on grounds that

   apply generally to the class, so that final injunctive relief or corresponding declaratory relief is

   appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2) (emphasis added). As the

   Processed Egg Court explained: “[G]iven the lack of clarity regarding what present violations of

   the antitrust laws require what types of injunctive relief,” the class cannot be certified because

   “[t]he Court has not been presented with evidence as to how such relief would provide

   appropriate final relief to the class as a whole.” Processed Egg, 312 F.R.D. at 169. So too, here.

           Plaintiffs cannot demonstrate cohesiveness for the additional reason that they cannot


                                                     26
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 32 of 35 PageID: 10290




   show class-wide injury through common proof. A (b)(2) class is cohesive if “‘[its] claims are

   common ones and . . . adjudication of the case will not devolve into consideration of myriad

   individual issues.’” Processed Egg, 312 F.R.D. at 169 (quoting Newberg on Class Actions

   § 4:34). “In other words, Rule 23(b)(2) applies only when a single injunction or declaratory

   judgment would provide relief to each member of the class.” Id. (emphasis added) (internal

   quotation marks omitted). Therefore, as Plaintiffs acknowledge, to demonstrate cohesiveness,

   they “must show that the following elements are susceptible of common proof: (1) actual or

   threatened injury . . . (2) causation; and (3) likelihood that the equitable relief will redress the

   injury.” Mot. at 26 (internal quotation marks and citation omitted). Indeed, because (b)(2) class

   members are bound by the action without the opportunity to opt out, “a (b)(2) class may require

   more cohesiveness than a (b)(3) class.” Gates v. Rohm & Haas Co., 655 F.3d 255, 264

   (3d Cir. 2011) (emphasis added) (internal quotation marks omitted). And where, as here, a class

   cannot be certified under (b)(3) because individual issues predominate, that class will often also

   fail to satisfy (b)(2). See, e.g., Kotsur v. Goodman Glob., Inc., 2016 WL 4430609, *9 n.10

   (E.D. Pa. 2016); Fosmire v. Progressive Max Ins. Co., 277 F.R.D. 625, 636 (W.D. Wash. 2011).

           The injury Plaintiffs seek to redress through their (b)(2) class is the alleged

   “supracompetitive prices” putative class members paid for Thalomid and Revlimid due to

   delayed generic entry. Mot. at 26-27. For all the reasons discussed with respect to their damages

   classes, Plaintiffs cannot provide the requisite “common proof” that each class member suffered

   such an injury. See supra Part II.A-B (describing Plaintiffs’ failure to provide common method

   for identifying uninjured brand loyalists and flat copay consumers). This failure precludes a

   finding of cohesiveness and provides another reason to deny Plaintiffs’ (b)(2) class. See, e.g., In

   re Pharmacy Benefit Managers Antitrust Litig., 2017 WL 275398, at *28 (E.D. Pa. Jan. 18,




                                                     27
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 33 of 35 PageID: 10291




   2017) (proposed (b)(2) class not sufficiently cohesive where plaintiffs lacked common evidence

   that all members suffered injury from anticompetitive effects of alleged conspiracy); Skelaxin,

   299 F.R.D. at 578 (denying (b)(2) certification where “the Court is unable to determine without

   individualized inquiry which entities are members of the class”).

          C.      Plaintiffs’ Injunctive Relief Class Is Not Necessary to Obtaining the Relief
                  They Seek.

          As the Court noted, one prominent concern with certifying any (b)(2) class is the

   preclusive effect it may have on class members because they do not have the option to opt out of

   the class and may therefore be barred from bringing a subsequent suit for damages. Op. at 53;

   see also Processed Egg, 312 F.R.D. at 167-68 (discussing the “difficulties in certifying a

   Rule 23(b)(2) class alongside a Rule 23(b)(3) class,” including specifically the “perils of claim

   preclusion”). To alleviate this concern—and any other unintended negative effects of class

   treatment—the Third Circuit has advised that courts may consider whether class-wide treatment

   is necessary to obtain injunctive relief. Gayle v. Warden Monmouth Cty. Corr. Inst.,

   838 F.3d 297, 310 (3d Cir. 2016). That is, “there may be circumstances where class certification

   is not appropriate because in view of the declaratory or injunctive relief ordered on an individual

   basis, there would be no meaningful additional benefit to prospective class members in ordering

   classwide relief.” Id.; see also Gonzalez v. Corning, 885 F.3d 186, 194 n.3 (3d Cir. 2018)

   (applying Gayle in affirming denial of certification when class-wide injunction not necessary);

   Processed Egg, 312 F.R.D. at 170 (questioning whether “a nationwide class . . . as opposed to an

   individual action, is the appropriate form for this litigation”). This is just such a case.

          In a typical (b)(2) class—such as “civil rights actions and other institutional reform

   cases”—a class-wide injunction is necessary to ensure class-wide relief. Barnes v. Am. Tobacco

   Co., 161 F.3d 127, 142 (3d Cir. 1998) (internal quotation marks omitted). For example, if a



                                                     28
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 34 of 35 PageID: 10292




   defendant illegally discriminates against an entire class of people, an injunction with respect to

   one plaintiff would not stop the behavior with respect to every other putative class member.

   That rationale does not apply here. Plaintiffs concede that whatever injunctive relief they are

   seeking would benefit all injured putative class members. In other words, Plaintiffs need only

   vindicate their own individual injunction claims to obtain any requested relief; there is thus no

   added benefit to class-wide treatment. See, e.g., Hall v. Burger King Corp., 1992 WL 372354,

   at *11-12 (S.D. Fla. Oct. 26, 1992) (certification of (b)(2) class unnecessary in suit alleging

   antitrust conspiracy because “the relief ordered in connection with an individual’s claim or

   action . . . would of necessity inure to the benefit of others” (internal quotation marks omitted)).

          Celgene does not believe Plaintiffs will be able to establish the bases for any injunction in

   this case, whether individually or as a class. But even if they could, such relief would not, as a

   practical matter, impact only the named Plaintiffs. Denying certification of an injunctive relief

   class, and allowing the named Plaintiffs to try to establish the grounds for a permanent injunction

   at a later time, is vastly preferable to the inadequate suggestions Plaintiffs offer for avoiding

   unintended preclusive effects. Plaintiffs’ first recommendation is that this Court expressly

   reserve class members’ right to seek monetary relief in a subsequent action. Mot. at 29. But, as

   several courts have noted, such a reservation may not be honored by subsequent courts. See In

   re Vitamin C Antitrust Litig., 279 F.R.D. 90, 116 (E.D.N.Y. 2012); Processed Egg, 312 F.R.D.

   at 167; Skelaxin, 299 F.R.D. at 578. And Plaintiffs’ second recommendation—that the Court

   limit the injunction class to just entities and/or persons in the nineteen states without Illinois

   Brick repealer statutes—essentially acknowledges that reducing the class size does not affect the

   relief all end payors would obtain from any injunction. Plaintiffs further concede that they do

   not presently have a named plaintiff who could assert claims under these laws. Mot. at 30 n.42.




                                                     29
Case 2:14-cv-06997-MCA-MAH Document 270 Filed 01/28/19 Page 35 of 35 PageID: 10293




   Therefore, to avoid any preclusive effect as to those (or any other) class members—and in light

   of Plaintiffs’ failure to identify the specific injunctive relief sought and prove the class is

   cohesive—the better course of action is to deny certification of an injunctive relief class.

                                              CONCLUSION

           Plaintiffs’ Motion for Class Certification should be denied in its entirety.

                                                Respectfully submitted,

                                                s/ Gavin J. Rooney
                                                Gavin J. Rooney
                                                Joseph A. Fischetti
                                                LOWENSTEIN SANDLER LLP
                                                One Lowenstein Drive
                                                Roseland, NJ 07068
                                                Tel: (973) 597-2500
                                                grooney@lowenstein.com
                                                jfischetti@lowenstein.com


                                                John E. Schmidtlein (pro hac vice)
                                                Benjamin M. Greenblum (pro hac vice)
                                                Carol Joan Pruski (pro hac vice)
                                                WILLIAMS & CONNOLLY LLP
                                                725 Twelfth Street NW
                                                Washington, DC 20005
                                                Tel: (202) 434-5000
                                                jschmidtlein@wc.com
                                                bgreenblum@wc.com
                                                cpruski@wc.com

                                                Attorneys for Defendant Celgene Corporation

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